
By the Court.
— The credits, in order to reduce the demand to the sum, of which the justice bath jurisdiction, ought to be specifically set out. In the present case, the amoxunt of the credits to be deducted is not mentioned; it, therefore, does not appear that they will reduce the sum demanded, within the justice’s jurisdiction; from the face of the. demand, then, it appears, that it exceeded the sum, of which the justice had jurisdiction; and for this cause, judgment must be reversed. There were several other reasons assigned [*] for the reversal of this judgment, but the Court reversing on the first reason, gave no opinion on the others, (a)

 Sic post. #528, 561, 661. 1 South, 104, 220. 4 Halst. 118.

